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    EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CENTRO DE TRABAJADORES
UNIDOS, et al.,

           Plaintiffs,

             v.                                  Civil Action No. 25-677 (DLF)

SCOTT BESSENT, in his official
capacity as Secretary of the Treasury, et
al.,

           Defendants.



                   DECLARATION OF KATHLEEN EVEY WALTERS

      I, Kathleen Evey Walters, pursuant to 28 U.S.C. § 1746, declare as follows:

          1. I am employed as the Chief Privacy Office in the Internal Revenue Service (IRS).

              The Chief Privacy Offer oversees the Office of Privacy, Governmental Liaison

              and Disclosure (PGLD), a business unit with the IRS. PGLD is responsible for

              protecting the privacy of sensitive return and return information of taxpayers and

              employees and enforcing the confidentiality provisions of 26 U.S.C. § 6103.

          2. As the Chief Privacy Officer, my duties include overseeing the management of

              this multi-faceted privacy program, ensuring compliance with the Privacy Act, the

              Freedom of Information Act, the Federal Records Act and 26 U.S.C. § 6103. In

              addition, I also oversee data exchanges with federal, state, and local government

              agencies and IRS authentication activities, as well as safeguarding federal tax

              return and return information in the possession of the IRS exchange partners. As

              part of this program, I am required to review certain requests to share tax return
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        information and determine, in coordination with the IRS Office of Chief Counsel,

        whether such disclosures would be permissible under 26 U.S.C. § 6103.

    3. On April 7, 2025, the IRS and the Department of Homeland Security (DHS)

        executed a Memorandum of Understanding (MOU) to create a framework for the

        sharing of information between the agencies. The MOU governs requests

        submitted by DHS or U.S. Immigration and Custom Enforcement (ICE) for return

        information under 26 U.S.C. § 6103(i)(2). A true and complete copy of the

        executed MOU is attached as Exhibit 1.

    4. As of April 7, 2025, DHS and ICE have not requested the return information of

        any taxpayers pursuant to the MOU.

    5. Between March 17, 2025, and April 7, 2025, the IRS has not received any

        requests for taxpayer information from DHS or ICE and has not provided any

        return information to DHS or ICE.

 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on April 7, 2025

                                                          Digitally signed by Kathleen
                                            Kathleen E.   E. Walters
                                                          Date: 2025.04.07 21:15:43
                                            Walters
                                        ________________________________________
                                                          -04'00'




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                   MEMORANDUM OF UNDERSTANDING
                              BETWEEN
  U.S. TREASURY DEPARTMENT on behalf of the INTERNAL REVENUE SERVICE
                                 AND
        U.S. DEPARTMENT OF HOMELAND SECURITY on behalf of the U.S.
                IMMIGRATION AND CUSTOMS ENFORCEMENT,

      FOR THE EXCHANGE OF INFORMATION FOR NONTAX CRIMINAL
                         ENFORCEMENT

1. INTRODUCTION:

   a. WHEREAS by Executive Order (EO) No. 14161, Protecting the United States from
      Foreign Terrorists and Other National Security and Public Safety Threats, 90 Fed. Reg.
      8451 (Jan. 20, 2025), the President directed the Secretary of State, in coordination with the
      Attorney General, the Secretary of Homeland Security, and the Director of National
      Intelligence, to take immediate steps to identify, exclude, or remove aliens illegally present
      in the United States; and

   b. WHEREAS the Department of Homeland Security has identified numerous aliens illegally
      present in the United States whom they have represented are under final orders to remove
      them from the United States; and

   c. WHEREAS the Department of Homeland Security has represented that each of the above-
      referenced individuals is under criminal investigation for violations of one or more
      specifically designated Federal criminal statutes (not involving tax administration),
      including 8 U.S.C. § 1253(a)(1); and

   d. WHEREAS the parties wish to enter into an agreement setting forth the procedures,
      processes, and safeguards to be followed upon the receipt of a request for the disclosure of
      information subject to the confidentiality requirements of Internal Revenue Code (IRC) §
      6103;

   e. NOW THEREFORE, this Memorandum of Understanding (MOU) between the U.S.
      Treasury Department / Internal Revenue Service (IRS), and the U.S. Department of
      Homeland Security / U.S. Immigration and Customs Enforcement (ICE), sets forth the
      agreement of the parties with respect to ICE’s use of the authority in IRC § 6103(i)(2) for
      the submission of requests for                                criminal investigation under
      8 U.S.C. § 1253(a)(1) or another specifically designated Federal criminal statute.

2. AUTHORITY:

The IRS enters into this MOU pursuant to IRC § 7803(a)(2), delegating to the IRS the authority to
administer the Internal Revenue Code, and IRC § 6103(i)(2), authorizing the disclosure of return
information other than taxpayer return information for purposes of the enforcement of a specified



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       ICE officers and employees to other persons only to the extent necessary to the
       enforcement of the specifically designated nontax Federal criminal statute, including:

       a. (U//LES) To properly obtain the services of persons having special knowledge or
          technical skills (such as, but not limited to, handwriting analysis, photographic
          development, sound recording enhancement, or voice identification);
       b. (U//LES) To properly interview, consult, depose, or interrogate or otherwise obtain
          relevant information from, the taxpayer to whom such return or return information
          relates (or such taxpayer's legal representative) or any witness who may be called to
          give evidence in the proceeding; or
       c. (U//LES) To properly conduct negotiations concerning, or obtain authorization for,
          disposition of the proceeding, in whole or in part, or stipulations of fact in connection
          with the proceeding.

   3. (U//LES) Among those persons to whom returns and return information may be disclosed
      by officers and employees of ICE on a need-to-know basis as provided are:

       a. (U//LES) Other ICE officers and employees such as clerical personnel (for example,
          secretaries, stenographers, docket and file room clerks, and mail room employees) and
          supervisory personnel;
       b. (U//LES) Officers and employees of another Federal agency (as defined in section
          6103(b)(9)) working under the direction and control of such ICE officers and
          employees; and
       c. (U//LES) Court reporters.

F. (U//LES) ICE will ensure the proper handling, transmission, safeguarding, and security of
          information as contained in Sections 8 and 9 of this MOU.

G. Specifications and details regarding ICE’s procedural obligations and requirements concerning
   the information exchange will be included in a separate implementation agreement entered into
   between IRS and ICE.




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A. Incident Reporting
If the IRS or ICE experiences an incident involving the loss or breach of PII provided by IRS under
the terms of this MOU, they will follow the incident reporting guidelines issued by OMB. In the
event of a reportable incident under OMB guidance involving PII, the agency experiencing the
incident is responsible for following its established procedures, including notification to proper
organizations (i.e., Cybersecurity & Infrastructure Security Agency (CISA) and the agency’s
privacy office). Immediately upon discovery of a potential cybersecurity incident involving IRS-
provided PII, ICE will contact the IRS Computer Security Incident Response Center (CSIRC) at
240-613-3606.

B. Breach Notification
The IRS and ICE will follow PII data breach notification policies and related procedures as
required by OMB Memorandum M-17-12 (Jan. 3, 2017). If the agency that experienced the data
breach, after conducting a risk assessment, determines notification to the potentially impacted
individuals and an offer of an identity protection/identity monitoring service, and/or other remedies
is required, that agency will carry out the remedies without cost to the other agency.

9. DISCLOSURE, SAFEGUARDS, AND RECORD KEEPING REQUIREMENTS:

A. ICE will maintain all Federal tax returns and return information sourced from the IRS in
   accordance with IRC § 6103(p)(4) and comply with the safeguards requirements set forth in
   Publication 1075, Tax Information Security Guidelines for Federal, State and Local Agencies.
   Publication 1075 is the IRS-published guidance for security guidelines and other safeguards
   for protecting returns and return information, pursuant to 26 C.F.R. § 301.6103(p)(4).

The IRS safeguarding requirements include:

   1. ICE will establish a central point of control for all requests for and receipt of Federal tax
      returns and return information and maintain a log to account for all subsequent disclosures
      and products made with/from that information, and movement of the information until
      destroyed, in accordance with Publication 1075.

   2. ICE will establish procedures for secure storage of Federal tax returns and return
      information consistently maintaining two barriers of protection to prevent unauthorized
      access to the information, including when in transit, in accordance with Publication 1075.

   3. ICE will consistently label Federal tax returns and return information obtained under this
      MOU to make it clearly identifiable and to restrict access by unauthorized individuals. Any
      duplication or transcription of Federal tax returns and return information creates new
      records which must also be properly accounted for and safeguarded. Federal tax returns
      and return information should not be commingled with other ICE records unless the entire
      file is safeguarded in the same manner as required for Federal tax returns and return


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   information and the Federal tax information (FTI) within is clearly labeled in accordance
   with Publication 1075.

4. ICE will restrict access to Federal tax returns and return information solely to officers and
   employees of ICE as described in this MOU for the purposes of carrying out this MOU.
   Prior to access ICE must evaluate which employees require such access. Authorized
   individuals may only access Federal tax returns and return information to the extent
   necessary to perform services related to, and as authorized by, this MOU, in accordance
   with Publication 1075.

5. Prior to initial access to FTI and annually thereafter, ICE will ensure that employees and
   officers that will have access to Federal tax returns and return information receive
   awareness training regarding the confidentiality restrictions applicable to the Federal tax
   returns and return information and certify acknowledgement in writing that they are
   informed of the criminal penalties and civil liability provided by IRC §§ 7213, 7213A, and
   7431 for any willful disclosure or inspection of Federal tax returns and return information
   that is not authorized by the IRC, in accordance with Publication 1075.

6. ICE will submit an annual Safeguard Security Report (SSR) to the Office of Safeguards by
   the submission deadline specified in Publication 1075 to provide an update on safeguarding
   activities during the reporting period. The SSR will also provide Head of Agency
   certification that the SSR addresses all Outstanding Actions identified by the IRS Office
   of Safeguards from the agency’s prior year SSR; accurately and completely reflects ICE’s
   current environment for the receipt, storage, processing, and transmission of FTI;
   accurately reflects the security controls in place to protect the FTI in accordance with
   Publication 1075 and of ICE’s commitment to assist the Office of Safeguards in the joint
   effort of protecting the confidentiality of FTI; support the Office of Safeguards on-site
   review to assess ICE’s compliance with Publication 1075 requirements by means of
   manual and automated compliance and vulnerability assessment testing, including
   coordination with information technology (IT) divisions to secure pre-approval, if needed,
   for automated system scanning and to support timely mitigation of identified risk to FTI in
   ICE’s Corrective Action Plan (CAP) for as long as ICE maintains Federal tax returns and
   return information. Required reports will be transmitted in electronic format and on the
   template provided by IRS Office of Safeguards using an IRS-approved encryption method
   in accordance with Publication 1075.

7. ICE will timely report all data incidents involving FTI to the Office of Safeguards and
   cooperate with Office of Safeguards investigators, providing data and access as needed to
   determine the facts and circumstances of the incident.

8. When a data incident results in ICE taking adverse or disciplinary action against an
   employee based on an unauthorized inspection or disclosure of FTI in violation of ICE’s
   procedures ICE must notify each impacted taxpayer in writing. The notification letter must
   include the date of the unauthorized inspection or disclosure and the rights of the taxpayer

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       under IRC § 7431. ICE must report to IRS Safeguards when taxpayer notification letters
       are issued, in accordance with Publication 1075.
   9. ICE will ensure that Federal tax return and return information is properly destroyed or
      returned to the IRS when no longer needed based on established ICE record retention
      schedules in accordance with Publication 1075.

   10. ICE will conduct periodic internal inspections of facilities where Federal tax returns and
       return information is maintained to ensure IRS safeguarding requirements are met and will
       permit the IRS access to such facilities as needed to review the extent to which ICE is
       complying with the IRC § 6103(p)(4) requirements of this section.

   11. IRC § 6103(p)(9) requires ICE to conduct on-site assessments of each contractor’s
       compliance with safeguarding requirements. ICE must submit findings of the most recent
       review as part of the annual SSR submission. ICE must certify to the IRS that each
       contractor is in compliance with safeguarding standards in accordance with Pub 1075. ICE
       must ensure that contracts with contractors and subcontractors performing work involving
       returns or return information contain specific language requiring compliance with IRC §
       6103(p)(4) and Publication 1075 standards. Contract language must enforce ICE’s right to
       access contractor and subcontractor facilities in order to comply with IRC § 6103(p)(9) to
       ensure IRS safeguarding requirements are met.

   12. Usage of FTI for Artificial Intelligence (AI) purposes must be disclosed to the Office of
       Safeguards for assessment of compliance with safeguard requirements.

B. Generally, this MOU covers secure electronic transmission of Federal tax returns and return
   information to ICE, provided ICE computer systems are compliant with National Institute of
   Standards and Technology (NIST) Special Publication 800-53 standards and guidance for
   security of data at the moderate impact level. ICE’s SSR must fully describe the computer
   system and security controls implemented for the receipt, processing, storage, and transmission
   of electronic Federal tax returns and return information. Required security controls for systems
   that receive, process, store, and transmit electronic Federal tax returns and return information
   are specified in Publication 1075.

C. Any creation or receipt of Federal tax returns and return information in paper format must also
   be fully disclosed in ICE’s SSR. Required security controls associated with the receipt,
   processing, and storage of any Federal tax returns and return information received in paper
   format are specified in Publication 1075.

D. ICE must report suspected unauthorized inspection or disclosure of Federal tax returns and
   return information within 24 hours of discovery to the IRS Office of Safeguards in accordance
   with Publication 1075.

E. IRS will conduct periodic safeguard reviews of ICE to assess whether security and
   confidentiality of Federal tax returns and return information is maintained consistent with the

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   safeguarding protocols described in Publication 1075, ICE’s SSR, and in accordance with the
   terms of this MOU. Periodic safeguard reviews will involve the inspection of ICE’s facilities
   where FTI is maintained; the testing of technical controls for computer systems storing,
   processing, or transmitting FTI; review of ICE’s recordkeeping and policies; and interviews of
   ICE’s employees to verify the use of FTI and to assess the adequacy of procedures established
   to protect FTI.

F. ICE recognizes and will reflect in its actions and procedures that all Safeguards documents and
   related communications are IRS official records; that they are property of the IRS; that IRS
   records are subject to disclosure restrictions under Federal law and IRS rules and regulations
   and may not be released publicly under state Sunshine or Information Sharing/Open Records
   provisions and that any requestor seeking access to IRS records should be referred to the
   Federal Freedom of Information Act (FOIA) statute. If ICE determines that it is appropriate to
   share Safeguards documents and related communications with another governmental
   function/branch for the purposes of operational accountability or to further facilitate protection
   of FTI, the recipient governmental function/branch must be made aware, in unambiguous
   terms, that Safeguards documents and related communications are property of the IRS; that
   they constitute IRS official records; that any request for the release of IRS records is subject
   to disclosure restrictions under Federal law and IRS rules and regulations and that any
   requestor seeking access to IRS records should be referred to the Federal Freedom of
   Information Act (FOIA) statute. Federal agencies in receipt of FOIA requests for Safeguards
   documents must forward them to IRS for reply.

G. All information received from ICE under this MOU becomes return information as defined in
   IRC § 6103(b)(2) and will not be further disclosed or disseminated except as authorized by
   IRC § 6103.

10. TRANSMITTAL PROCEDURES:

   Transmittal procedures and transmittal security requirements will be included in a separate
   implementation agreement entered into between IRS and ICE.




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11. LIABILITY:

A. Each party to this MOU shall be liable for the acts and omissions of its own employees.

B. The IRS shall not be liable for any injury to another party’s personnel or damage to another
   party’s property unless such injury or damage is compensable under the Federal Tort Claims
   Act (28 U.S.C. § 1346(b)), or pursuant to other Federal statutory authority. Similarly, ICE shall
   not be liable for any injury to another party’s personnel or damage to another party’s property
   unless such injury or damage is compensable under applicable Federal Tort Claims Act (28
   U.S.C. § 1346(b)), or pursuant to other Federal statutory authority.

C. This MOU is not an obligation or commitment of funds, nor a basis for transfer of funds, but
   rather is a basic statement of the understanding between the parties. Unless otherwise agreed
   in writing, each party shall bear its own costs in relation to this MOU. Expenditures by each
   party will be subject to its budgetary processes and to the availability of funds and resources
   pursuant to applicable laws, regulations, and policies.

12. THIRD PARTY RIGHTS:

This MOU does not confer any rights or benefits on any third party.

13. PRIVACY:

The IRS and ICE will ensure the integrity and accuracy of personal and financial data. The IRS
and ICE will perform their duties in a manner that recognizes and enhances individuals’ right of
privacy and will ensure their activities are consistent with laws, regulations, and good
administrative practices.

14. EFFECTIVE DATE:

The effective date of this MOU is the date it has been signed by all parties to the Agreement. The
information exchange contained in this agreement will not commence until a separate
implementation agreement between the IRS and ICE has been signed and implemented.




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APPROVALS:


U.S. DEPARTMENT OF TREASURY on behalf of the
INTERNAL REVENUE SERVICE

________________________________
Secretary Scott Bessent

Date: April ___, 2025




U.S. DEPARTMENT OF HOMELAND SECURITY on behalf of the
U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT



________________________________
Secretary Kristi Noem

Date: April 7, 2025




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